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                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                          *       CIVIL ACTION
                                               *
                                               *       NO. 2:20-cv-2679
VERSUS                                         *
                                               *       JUDGE GREG GERARD GUIDRY
THE ADMINISTRATORS OF THE                      *
TULANE EDUCATIONAL FUND                        *       MAGISTRATE JUDGE KAREN WELLS ROBY


                    MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)
                      AND TO STRIKE PURSUANT TO RULE 12(f)

          Defendant, The Administrators of the Tulane Educational Fund (“Defendant”), moves to

dismiss certain claims asserted by Plaintiff Princess Dennar, M.D. (“Plaintiff”) in her Complaint

as amended. This Motion supersedes Tulane’s previous 12(b)(6) Motions to Dismiss (R. Doc.

17, R. Doc. 40), and consolidates the entirety of Tulane’s arguments into the instant Motion and

accompanying Memorandum.

          Plaintiff’s initial 49-page Complaint (R. Doc. 1, containing paragraphs 1-195) has since

been supplemented with a 4-page First Supplemental and Amended Complaint (R. Doc. 15,

containing paragraphs 196-202) and a 15-page Second Supplemental and Amended Complaint.

(R. Doc. 39, containing paragraphs 203-238). Plaintiff’s Second Supplemental and Amended

Complaint (R. Doc. 39) explicitly incorporated the entirety of each allegation contained in her

Complaint (R. Doc. 1) and First Supplemental and Amended Complaint. (R. Doc. 15). The

reference in this Motion to Plaintiff’s “Complaint as amended” refers to the entirety of

Plaintiff’s allegations in this lawsuit, comprising paragraphs 1-238 as set forth in R. Docs 1, 15,

and 39.

          Plaintiff failed to adequately plead her state law claim of abuse of rights and her claims



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pursuant to the Louisiana Employment Discrimination Law. Further, any Title VII claims

arising from events that occurred in 2008 – 2009 are prescribed, as are the 42 U.S.C § 1981

discrimination and retaliation claims and Title VII retaliation claims pled for the first time in

Plaintiff’s Second Supplemental and Amended Complaint. These claims must therefore be

dismissed with prejudice from this proceeding.

       Tulane also moves to strike Paragraphs 17 – 19, 28 – 104, 116 – 117, and 134 – 137

from Plaintiff’s Complaint as amended. (R. Doc. 1, p. 5, 7-30, 32, 35-36). The factual

allegations contained in Paragraphs 28 – 104, 116 – 117, and 134 – 137 are prescribed, and

Plaintiff failed to exhaust her administrative remedies as to the allegations contained in

Paragraphs 17 – 19. Thus, they are therefore immaterial to her claims. In addition, Paragraphs

17 – 19 contain scandalous allegations which malign and prejudice Tulane despite having no

bearing on Plaintiff’s claims. These paragraphs must be stricken from Plaintiff’s Complaint, as

amended.

       As more comprehensively set out in the attached memorandum, Tulane respectfully

requests that the Court grant an Order providing relief under Fed. R. Civ. P. 12(b)(6) and 12(f).

                                             Respectfully Submitted:

                                             By: /s/ Walter F. Becker, Jr.
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                                                 Walter F. Becker, Jr. (La. Bar No. 1685)
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                                         Attorneys for Defendant, The Administrators
                                         of the Tulane Educational Fund




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